Case 2:25-cv-14067-AMC Document 1 Entered on FLSD Docket 02/28/2025 Page 1 of 37

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA
FORT PIERCE DIVISION

FEB 28 2025

ANGELA E. NOBLE
CLERK U.S. DIST. CT.
S. D. OF FLA. - FT. PIERCE

Kimberly Marasco
Plaintiff,

VS

Taylor Swift, an individual,

Jack Antonoff, an individual,

Aaron Dessner, an individual,

Universal Music Group, Inc. A California

Corporation, and
Republic Records, American record label
Defendants,

COMPLAINT FOR COPYRIGHT INFRINGEMENT
(DEMAND FOR JURY TRIAL)

INTRODUCTION

1. Plaintiff, Kimberly Marasco (Hereinafter ‘Original1’), Pro Se, brings this Complaint against
Defendants, Taylor Swift (Hereinafter ‘Artist1’) Jack Antonoff, Aaron Dessner, Republic
Records (‘RP’), and Universal Music Group ((UMG’), (together ‘Defendants’), for damages
and in support thereof states as follows:

THE PARTIES

2. Plaintiff Originall is a writer and author in Florida. She has been a writer since at least 2015.

She is the author and owner of the rights to the creative works of her published books of

poetry and verse: Dealing with a Chronic Illness (2017) and Fallen from Grace (2019).

Fallen From Grace was renamed Songs of the Unsung in April of 2020 when it was

published on Amazon.

Prepared with the help of an attorney

Case 2:25-cv-14067-AMC Document 1 Entered on FLSD Docket 02/28/2025 Page 2 of 37

. Defendant Artist! (Taylor Swift) is a is an American singer-songwriter based in Nashville,

TN and is and was doing business in the State of Florida and within this judicial district.

. Defendant Jack Antonoff is a songwriter and a resident of New York and is and was doing

business in the State of Florida and in this judicial district.

. Defendant Aaron Dessner is a songwriter and a resident of New York and is and was doing

business in the State of Florida and in this judicial district.

. Defendant Universal Music Group, Inc., is a musical recording group with operational

headquarters in California and is and was doing business in the State of Florida and in this

judicial district and distributes the songs listed in this complaint.

. Defendant Republic Records is an American record label for the Defendants. Based in New

York, Republic Records is owned by Universal Music Group and released the infringing

musical compositions for the songs listed in this complaint.

. UMG, RP, Artist], Jack Antonoff and Aaron Dessner (together, Defendants) songs contain a

number of creative expressions that copied the text, images, and designs without
authorization or credit to the detriment of the Plaintiff, Originall. The Defendants’ songs and
videos are from the albums Lover (2019), Folklore (2020), Midnights, (2022) and The
Tortured Poets Dept (2024) with all credits for text, design and image elements claimed as

works by the Defendants.

Prepared with the help of an attorney

Case 2:25-cv-14067-AMC Document 1 Entered on FLSD Docket 02/28/2025 Page 3 of 37

9. The songwriters for each composition included in this complaint are as follows (Please note
that either one poem was used to create more than one song, or more than one poem was used
to create one song creating 13 Counts):

a. Originall’s poem, “Ordinary Citizen”, contain unique expressions found in the song,

“The Man” (Artist1)

b. Originall’s poem, “Whirlwind”, contains unique expressions found in the songs
“Who's Afraid of Little Old Me” and “I Can Do it with a Broken Heart” (Artist] & Jack
Antonoff)

c. Originall’s poems, “Scorpion, Beams of Light, Gaslight, and Innocence Lost” contain
unique expressions found in the song “My Tears Ricochet” (Artist1).

d. Originall’s poem, “Sky Tinted Water” contain unique expressions found in the songs
“Hoax” (Artist! & Aaron Dessner) and “Tilicit Affairs” (Artist1 & Jack Antonoff)

e. Originall’s poem, “Delusional Reality” contain unique expressions found in the song
“Midnight Rain” (Artist! & Jack Antonoff)

f. Originall’s poem, “Black Cat” contain unique expressions found in the song “Death by a
Thousand Cuts” (Artist1 & Aaron Dessner)

g. Originall’s poems, “/ngenue” and “Innocence Lost” contain unique expressions found in
the song “Robin” (Artist! & Aaron Dessner)

h. Orignall’s poem, “The Fire “contain unique expressions found in the song “The Great
War” (Artist1 & Aaron Dessner)

i. Originall’s poem, “Breaking Waves” contain unique expressions found in the music
video for “Cardigan” (Artist! & Aaron Dessner)

j. Originall’s poems, “Devious Minds” and “Noah” contain unique expressions found in the
songs “Clara Bow” (Artist1 & Aaron Dessner), “Guilty as Sin?” (Artist! & Jack
Antonoff), “Down Bad” (Artist] & Jack Antonoff).

k. Originall’s poem, “Stagnate”, contain unique expressions found in the songs
“Right Where You Left Me” and “It’s Time to Go” (Artist! & Aaron Dessner).

1. Oringinall’s poems, “Time” and “Invisible Matter” contain unique expressions found in

the song “Invisible String” (Artist1 & Aaron Dessner)

Prepared with the help of an attorney
Case 2:25-cv-14067-AMC Document 1 Entered on FLSD Docket 02/28/2025 Page 4 of 37

10.

11.

12.

13.

m. Original1’s introduction to “Fallen” contain similar verbiage found in the introduction to

“The Tortured Poet’s Department’.

n. Not included in Counts section: The song, “Thank you Aimee” contains a verse that
mentions only few people know who the real “KIM” is (Artist! & Aaron Dessner).
Refer to Exhibits for this information.

JURISDICTION AND VENUE

This is an action arising under the Copyright Act, 17 U.S.C. § 501.

This Court has subject matter jurisdiction over these claims pursuant to 28 U.S.C. §§ 1331,

1338(a).

Venue is proper in this district under 28 U.S.C. § 1391(b) and (c) and 1400(a) because the

events giving rise to the claims occurred in this district and the property that is the subject of
this action is situated in the district.

This court has jurisdiction over Defendants under Florida Statutes Title VI. Civil Practice
and Procedure § 48.193 (1)(a)(1) because Defendants have engaged in substantial business
activities in Florida by performing concerts resulting in millions of dollars of revenue for
themselves. Furthermore, jurisdiction is proper when a non-resident Defendant has
purposefully availed itself of the privilege of conducting activities in the forum state or has
purposefully directed its conduct into the forum state. The idea is that the Defendants
received the benefits and protections of the forum state’s laws, so it would be fair to require
the Defendants to undertake the burdens of litigating in that state. Moreover, the Plaintiffs
claim must arise out of the Defendants’ conduct in the forum state or be related to it, and the

exercise of jurisdiction must be reasonable under the circumstances.

Prepared with the help of an attorney
Case 2:25-cv-14067-AMC Document 1 Entered on FLSD Docket 02/28/2025 Page 5 of 37

14. Defendants are further subject to personal jurisdiction in this state as they promote and
produce events in the district such as concerts and selling merchandise, receiving millions of
local dollars in revenue and thus have maintained sufficient minimum contacts in the district
such that the exercise of personal jurisdiction over Defendants would not offend traditional
notions of fair play and substantial justice.

THE COPYRIGHTED WORK AT ISSUE

15. Plaintiff brings this action for violations of Plaintiff’s exclusive rights under the Copyright

Act, 17 U.S.C. § 106, to copy, prepare derivative works, perform and distribute Plaintiff's

original copyrighted Work.

16. Plaintiff is the author of a book with poems and verse titled Dealing with a Chronic Illness:

Vestibular Neuritis (“Dealing”) and registered the Work in the US Copyright Office as Copyright

TXu2-061-218 (Ex. A) in 2017 and the book was published and offered for sale to the public in

early 2018 by Outskirts Press.

17. Plaintiff is the author of another book registered as Fallen from Grace (“Fallen”), May 27,

2020, with works produced and sold on Amazon KDP (titled Songs of the Unsung). The book is

registered in the US Copyright Office as TXu002200550 (Ex. A). Both the registered date and

distribution date fall prior to the Defendants’ songs.

18. Both “Dealing”, 2017 and “Fallen”, 2020 will be referred to as “Works” by the Plaintiff.

Plaintiff is, and at all relevant times has been, the copyright owner of rights under United States

copyright with respect to the Works.

19. Defendants had access to the Works due to the Works being published for wide

dissemination via online websites as well as through publishing companies.

Prepared with the help of an attorney

Case 2:25-cv-14067-AMC Document 1 Entered on FLSD Docket 02/28/2025 Page 6 of 37

20. The Plaintiff has sold more than 300 books according to Amazon KDP and Outskirts Press

and Ukiyoto Publishers has not provided a total count of books sold via their outlets.

21. According to IssueWire: “Fallen From Grace has already received a lot of positive feedback
from the time of its launch and has been showcased to more than twenty-five thousand
bookstores and retail chains across the globe for taking up and placing a copy at their stores. As
true stories and inspirational stories always find a way to people’s heart providing them with the
much-needed hope and motivation to fight their own battles, few stores have taken up the copies
on consignment basis while rest are in invigilation mode to place them and start selling. The title
has also been made available on Ingram for wholesale purchase by stores and retailers.”

(https://www.issuewire.com/kimberly-marasco-releases-fallen-from-grace-which-is-based-on-

her-inspirational-life-story- 16575 10209176177).

22. Defendants infringed Plaintiff’s exclusive rights under 17 U.S.C. §§ 106 and 602 by
unlawfully and extensively copying Plaintiffs protected expressions and publishing derivatives of

Dealing and Fallen without Plaintiff's authorization in violation of 17 U.S.C. § 501.

23. Defendants have never been licensed or given permission to use the Works, at issue in this
action, for any purpose.

24. In 2024, Plaintiff discovered most of the infringing activity by a co-worker commenting on
the substantial similarity of the Defendant’s music to the Works as well as after viewing the
“Eras Tour” over the internet and on television. The Plaintiff continued to find more
infringement after filing the first complaint.

25. In 2024, Plaintiff brought suit against Taylor Swift Productions, Inc. in small claims court in
Fort Pierce, Florida, seeking redress. The Defendant had the case removed to Federal Court in

the southern District of Florida, Fort Pierce Division as Case No. 2-24-CV-14153. Taylor Swift,

Prepared with the help of an attorney

Case 2:25-cv-14067-AMC Document 1 Entered on FLSD Docket 02/28/2025 Page 7 of 37

an individual, was added to the complaint but later dismissed as the Plaintiff was not able to
serve her via personal methods. The case against Taylor Swift Productions is ongoing. Plaintiff
decided to bring this, separate, lawsuit against the other Defendants not included in the previous
lawsuit. Plaintiff will once again reattempt service upon Taylor Swift but will not include Taylor
Swift Productions in this lawsuit.

Defendants’ Infringement
26. Defendants have willfully infringed Plaintiff’s rights by showing their individual and joint
reckless disregard for or willful blindness as to Plaintiff’s copyrights. The harm caused to
Plaintiff is irreparable and ongoing as a direct and proximate cause of Defendants copyright
infringement. Plaintiff never gave Defendants permission or authority to copy or prepare
derivative works of the Works at issue in this case.
27. Defendants has appropriated either “verbatim or through close paraphrasing” at least
twenty-five to thirty percent of Plaintiff’s Works of the same subject matter within a close
timeframe after Originall published her Works. The material copied by the Defendants was an
essential part of Plaintiff’s work. The Plaintiff has received recognition and awards for her strong
writing skills and creativity, including receiving praise from a professor for writing a “strong”
thesis for her graduate school program. The Defendants’ use clearly affected the potential market
for the work because, before the use, the Plaintiff received interest from other publishers, poetry
contests and literary magazines (Exhibit B).
28. The Plaintiff is entitled to compensation from the Defendants’ willful infringement,
attorney’s fees and such other amounts that may be proper under 17 U.S.C. § 504 and § 505. In
the alternative, at her election, Plaintiff is entitled to statutory damages by virtue of Defendants.

Plaintiff is entitled to profits in amounts to be proven at trial under 17 U.S.C. § 504 (b).

Prepared with the help of an attorney

Case 2:25-cv-14067-AMC Document 1 Entered on FLSD Docket 02/28/2025 Page 8 of 37

31.

29. Unless enjoined and restrained by this Court, Defendants will continue to infringe Plaintiff’s
copyrights to include text from the following poems and verse by the Plaintiff; “Ordinary
Citizen”, “Whirlwind”, “Scorpion”, “Beams of Light”, “Sky Tinted Water’, “Gaslight”,
“Delusional Reality”, “Black Cat’, “Innocence Lost’, “Ingenue”, “The Fire”, “Breaking

Waves”, “Noah”, “Stagnate’, “Invisible Matter’, the introduction to Songs of the Unsung,

and other media and visuals.
Count I
COPYRIGHT INFRINGEMENT of “ORDINARY CITIZEN”
(17 U.S.C. § 106 and § 501)

By Plaintiff against Defendants

30. Plaintiff incorporates the allegations of paragraphs | through 29 of this Complaint as if fully
set forth herein. Plaintiff created Dealing as an original expression of creative writing. The
poem “Ordinary Citizen” is part of Dealing (2018).

Plaintiff has the exclusive rights, pursuant to Section 106 of the Copyright Act, to make

derivative works, distribute and publicly perform her copyrighted Works. Defendants infringed

Plaintiff’s exclusive rights under 17 U.S.C. §§ 106 and 602 by creating the song and video “The

Man” containing original expressions derived from the poem “Ordinary Citizen” by copying the

unique way Plaintiff expressed elements to form a protectable expression. Plaintiff’s poem,

“Ordinary Citizen” (Fallen from Grace, 2018) published by Outskirts Press, includes this text:

“I’m running behind/You say its His word against mine/No one will listen/Because ’m

only an ordinary citizen/So you tell me I’m guilty before committing a crime/I try to fly

Prepared with the help of an attorney

Case 2:25-cv-14067-AMC Document 1 Entered on FLSD Docket 02/28/2025 Page 9 of 37

like a butterfly/But my wing was clipped by his lip.../Power only resides in my mind/as
its His word against mine/After the sun sets/the earth is nothing but a dark shadow/Light
remains in the Afterglow”. On an interesting note, the last word in this poem became the
title of yet another song by Taylor Swift.

The Defendants used the same words (albeit changing a few words here and there) to come
up with a strikingly similar, and powerful, expression in her song, “The Man” (Lover, August
2019): The verse that was copied became the epitome and chorus for the song:

“(Chorus] I’m so sick of running as fast as I can/Wondering if I’d get there quicker if I
was a man/And I’m so sick of them coming at me again/...Could all be separated from
my good ideas and power moves/...And it’s all good if you’re bad”.

Defendants used the same unique expressions to describe a patriarchal corporate system of
corruption. Plaintiff wrote about a female confronting adversity in a corporate environment. The
song is not a general song about men being more powerful than women across all industries, but
rather, specifically relates to an office setting where a boss oversees a female worker. This is
exactly what the Plaintiff wrote in her poem, “Ordinary Citizen”.

Additional lyrics by the Defendants include “When everyone believes ya, what’s that like?”
She is referring to how the man can lie and get away with it which is exactly what the Plaintiff
wrote in this verse:

“I’m running behind, you say it’s his word against mine. No one will listen, because I’m
only an ordinary citizen, so you tell me I’m guilty before committing a crime, I try to fly
like the butterfly, but my wing was clipped by his lip... it doesn’t matter...Power only
resides in my mind. As the stateswoman told me, it’s his word against mine”.

In the previous complaint, the Defense compares this to Beyonce’s song, “If I Were a Boy”.

However, Beyonce is describing a boy in the world (not in an office setting) and how the boy

Prepared with the help of an attorney

Case 2:25-cv-14067-AMC Document1 Entered on FLSD Docket 02/28/2025 Page 10 of 37

should be more compassionate toward females. This is a completely different context and does
not contain any similarities and doesn’t use any of the same unique expressions as the Plaintiff
wrote. The Defense also compares the poem to Chaka Khan’s, “4 Woman in a Man’ World”.
Khan’s lyrics include “In a dog-eat-dog, show biz town” referring to the entertainment industry
and how she has a dream but that others drag her down because she is in a Man’s world. There
are no similar unique expressions found in this song, and the context is different.
Count IT
COPYRIGHT INFRINGEMENT of “WHIRLWIND”
(17 U.S.C. § 106 and § 501)
By Plaintiff against Defendants

32. Plaintiff incorporates the allegations of paragraphs 1 through 29 of this Complaint as if fully set
forth herein. Plaintiff created Dealing as an original expression of creative writings. The Poem
“Whirlwind” is part of Dealing (2018).

33. Plaintiff has the exclusive rights, pursuant to Section 106 of the Copyright Act, to make
derivative works, distribute and publicly perform her copyrighted Works. Defendants infringed
Plaintiff’s exclusive rights under 17 U.S.C. §§ 106 and 602 by creating the song titled “Whos
Afraid of Little Old Me” containing original expressions derived from the poems “Whirlwind” by
copying the unique way Plaintiff expressed elements to form a protectable expression. Plaintiff's

poem (Fallen from Grace, 2018) published by Outskirts Press, includes this text:

“They caged me and told me I’m crazy/No one would have believed Nellie Bly/Until she
went undercover and revealed their lies/Now I’m standing in the midst of a

whirlwind/Chaos all around me/Under investigation/Once again, I feel the coy tricks of

Prepared with the help of an attorney

Case 2:25-cv-14067-AMC Document1 Entered on FLSD Docket 02/28/2025 Page 11 of 37

retaliation.../But I know it’s you and you alone/Who will make what you are/I will
continue to fight thru the storm”.

Defendants’ lyrics include the same unique expression “Who s Afraid of Little Old Me?”
(April 2024) The Defendants wrote:

“The who’s who of “Who’s that?” is poised for the attack/But my bare hands paved their
path/You caged me and told me I’m crazy/If you wanted me dead../”.

The Defendants used strikingly similar text and context to describe a woman being gaslighted
while also acknowledging she created her own circumstance. Furthermore, the Plaintiff
referenced Nellie Bly, who is a journalist from the 1880’s, who wrote about the mentally ill in an
insane asylum. The Defendant used the same context for their video, Fortnight, which portrays a
woman like Nellie Bly working in an office using a typewriter and depicting a person in an
insane asylum. In Nellie Bly’s book, she is wearing a dress while working which resembles the
same dress Taylor Swift wore in the video.

The Plaintiff’s verse "What I found is that when you write from your heart, it results in a
work of art". This strikingly similar expression was used in the Defendants’ song, “J Can Do It
With a Broken Heart” where she sings "I cry a lot but am so productive, it’s an art...I can even do
it with a broken heart". The plaintiff’s poem is about overcoming adversity and being able to use
it in creative ways, such as in writing her book. The Defendants’ used this same, unique,

expression for their song.

Prepared with the help of an attorney

Case 2:25-cv-14067-AMC Document 1 Entered on FLSD Docket 02/28/2025

34,

35.

Count HI
COPYRIGHT INFRINGEMENT of “SCORPION, BEAMS OF LIGHT,
GASLIGHT and INNOCENCE LOST”
(17 U.S.C. § 106 and § 501)
By Plaintiff against Defendants

Plaintiff incorporates the allegations of paragraphs 1 through 29 of this Complaint as if fully set

forth herein. Plaintiff created Dealing and Fallen as an original expression of creative writings.
The Poems “Scorpion”, “Beams of Light” “Gaslight” and “Innocence Lost” are a part of Dealing
(2018). The poem, “Sky Tinted Water” is a part of Fallen (2020).
Plaintiff has the exclusive rights, pursuant to Section 106 of the Copyright Act, to make
derivative works, distribute and publicly perform her copyrighted Works. Defendants infringed
Plaintiff’s exclusive rights under 17 U.S.C. §§ 106 and 602 by creating the song titled “My Tears
Ricochet?” containing original expressions derived from the poems “Scorpion”, “Beams of Light”,
“Gaslight” “Innocence Lost” “Sky Tinted Water” by copying the unique way Plaintiff expressed
elements to form protectable expressions.

The Plaintiff’s poem, “Scorpion, and Beams of Light” creatively depicts a person
communicating with someone who is deceased.

In “Scorpion”, the Plaintiff wrote:

“No apologies can remove the tears/When you’re no longer here” and “Until I heard your

laughter from above (from heaven)...and your words echoing: this is nothing but a shit

show”.

Prepared with the help of an attorney

Page 12 of 37
Case 2:25-cv-14067-AMC Document1 Entered on FLSD Docket 02/28/2025 Page 13 of 37

The Plaintiff’s poem, “Beams of Light”, she wrote about those who lost their lives during the
9-11 tragedy referring to the innocent lives ascending into heaven with this text:

“Where the souls of the innocence ascended/When the diabolical presence/Thought they
would be the ones to enter Heaven’s gate. ../Only the innocent souls were accepted/The
dark evil entity Devoured in the Fire/Doves dancing and singing high in the sky, and I
can hear the beautiful choir/.”

The Defendant’s song, “My Tears Ricochet” (Folklore, 2020), includes this verse

“And I still talk to you (when I’m screaming at the sky)”

The Defendants rephrased what the Plaintiff wrote in saying “my tears ricochet (reflect) unto
the person crying. The Plaintiff wrote about catching a single tear drop insinuating that her lover
is trying to conceal his sadness but the pain the lover caused is also being reflected unto himself.
He is not only causing her pain, but pain for himself. This is a very powerful part of the
Plaintiff’s poem in which the Defendant clearly copied.

The Plaintiff’s (Original!) poem, “Jnnocence Lost” includes this text:

“I caught your tear in my hand, and I fear, you’re drowning in your own reflection/You’re
drowning in your own reflection”

The Defendants uses tears that get reflected or rather, ricochet. (The word ricochet is a
synonym for being reflected off something).

The Defendants’ verse “She’s laughing up at us from Hell” is also strikingly similar to the
Plaintiff’s passage “...I heard her laughter from above (heaven)” using the same original

expression.

Prepared with the help of an attorney

Case 2:25-cv-14067-AMC Document1 Entered on FLSD Docket 02/28/2025 Page 14 of 37

The Plaintiff’s poem, “Gaslight”, includes the text:

“You’re taunting me/ claiming its all for fun/A coward hides behind a gaslight/Stealing
positive energy/Nowhere to run or hide/Unable to escape this tormentor.../When its
obvious they are deliberately making me look crazy.. ./When the seven seas rise in
anger/All the resources will be submerged under water/There will be nothing left in
sight/This was the result of your Gaslight/”

The Defendants’ song, “My Tears Ricochet”, include the text:

“I didn’t have it in myself to go with grace/And so the battleships will sink beneath the
waves/You had to kill me, but it killed you just the same”.

The Defendants used the same unique expressions to being “submerged” under water and both
losing everything. The Plaintiff wrote about a battle between two people (on water which
represents life for everything that exists) where nothing will be left and that both will end up
destroying each other. Also, the Plaintiff was a flight attendant during the tragic 9-11 event which

inspired the poem, “Beams of Light” written by the Plaintiff. One of the chapters in the Plaintiff's

book, “Fallen from Grace”, compares the loss of jewelry to being an omen to future loss the
Plaintiff endured. The Defendants used the same theme in their song, “Tears Ricochet”, in stating
how she buried someone with jewelry she bought them.

The Plaintiff’s poem, “Gaslight”, contains this unique expression “Create a masterpiece with
your engineering mind”. Later, the Plaintiff wrote a poem on X.com titled “Elon =MC”’ in
reference to Elon being a genius in which the Plaintiff again used this same, unique, expression.
In the Defendants’ song, “Mastermind” a verse is: “To assess the equation of you” relating to
someone as a mathematical equation which is eerily similar to the expression by the Plaintiff

referring to Elon Musk a mathematical equation.

Prepared with the help of an attorney
Case 2:25-cv-14067-AMC Document 1 Entered on FLSD Docket 02/28/2025 Page 15 of 37

The Defendants verse “The touch of a hand lit the fuse” is strikingly similar to the Plaintiff's
expression “every gaslight has a gas leak, you set off the fuse, now devour in your own gaslight”.
The expression here is that the person caused the fuse since they, (with their own hands) set it off
and ignited it, causing a leak which further exacerbated it.

Count IV
COPYRIGHT INFRINGEMENT of “SKY TINTED WATER”
(17 U.S.C. § 106 and § 501)
By Plaintiff against Defendants

36. Plaintiff incorporates the allegations of paragraphs | through 29 of this Complaint as if fully set
forth herein. Plaintiff created Fallen as an original expression of creative writings. The Poem
“Sky Tinted Water” is a part of Fallen (2020).

37, Plaintiff has the exclusive rights, pursuant to Section 106 of the Copyright Act, to make
derivative works, distribute and publicly perform her copyrighted Works. Defendants infringed
Plaintiff’s exclusive rights under 17 U.S.C. §§ 106 and 602 by creating the song titled “Hoax”
and “JIlicit Affairs” containing original expressions derived from the poems by copying the
unique way Plaintiff expressed elements to form protectable expressions

The Plaintiff’s poem, “Sky Tinted Water” includes this text:
“Sky tinted water/Your love is crystal clear.. ./Thought love would leave the way/Then I
saw your reflection/And falsely led astray/I’m trying not to cry/Will you show me, how

to compliment the sky?”

Prepared with the help of an attorney
Case 2:25-cv-14067-AMC Document 1 Entered on FLSD Docket 02/28/2025 Page 16 of 37

The Defendant’s song, “Hoax” includes this verse:
“Your faithless love is the only hoax I believe in”.

This is a rephrase of a person being falsely led to believe in love as written in “Sky Tinted
Water” where the Plaintiff states she was falsely led astray believing in false love.

The Defendant’s song, “Illicit Affairs” (July 24, 2020), contains the text:

“You showed me colors you knew I couldn’t see with anyone else” as well as “I
made you my temple, my mural, my sky”

These lyrics are strikingly similar to the Plaintiff’s poem, “Sky Tinted Water”, with the verse

“Will you show me how to complement the sky?”.

Here, the Plaintiff has made someone to be beautiful, as if they were the same as a beautiful
sky with implications that the sky is a big part of the Plaintiff’s life. Again, this goes back to
when the Plaintiff worked as a flight attendant and used to take pictures of the beautiful skies
(Exhibit B). The Defendant used the same words, albeit changing a few, using the same unique
and original expression.

Count V
COPYRIGHT INFRINGEMENT of “DELUSIONAL REALITY”
(17 U.S.C. § 106 and § 501)
By Plaintiff against Defendants

38. Plaintiff incorporates the allegations of paragraphs | through 29 of this Complaint as if fully set

forth herein. Plaintiff created Dealing as an original expression of creative writings. The Poem,

“Delusional Reality”, is a part of Dealing (2018).
39, Plaintiff has the exclusive rights, pursuant to Section 106 of the Copyright Act, to make

derivative works, distribute and publicly perform her copyrighted Works. Defendants infringed

Prepared with the help of an attorney
Case 2:25-cv-14067-AMC Document1 Entered on FLSD Docket 02/28/2025 Page 17 of 37

Plaintiff’s exclusive rights under 17 U.S.C. §§ 106 and 602 by creating the song titled “Midnight
Rain” containing original expressions derived from the poem “Delusional Reality”
by copying the unique way Plaintiff expressed elements to form protectable expressions.
Plaintiff’s poem, “Delusional Reality” (Dealing, 2018), includes this verse:
“Drowning in my storm, waves crash the shore” and “with the clouds I rain, the smog
consumes me”

This is a unique reference to actually being the rain/storm which is an original expression.
The Defendant produced a song titled “Midnight Rain ” and “Long Story Short” in 2020 and
2022 with this verse:

“I was midnight rain” and “my waves meet your shore”

The unique expression is how the Plaintiff refers to physically being the rain/waves/ocean,
rather being in the rain or storm. In the previous complaint, the Defendant compares Braid
Paisley’s, “Perfect Storm” to “Midnight Rain”. While there is a bit more similarity with his song,
they still differ in context as well as in figure of speech. Paisley describes how his lover has both
bad and good qualities and thus relates her with a storm and sunshine. This is not the same
expression conveyed by the Plaintiff where she refers to being consumed by her own storm. In
“Midnight Rain”, the Defendant describes herself as being rain and how she is consumed by it.
“My waves crash your shore” is a unique phrase which was copied verbatim by the Defendant.

Furthermore, the more similarities found, the stronger the infringement.

Prepared with the help of an attorney
Case 2:25-cv-14067-AMC Document1 Entered on FLSD Docket 02/28/2025 Page 18 of 37

Count VI
COPYRIGHT INFRINGEMENT of “BLACK CAT”
(17 U.S.C. § 106 and § 501)
By Plaintiff against Defendants

AO. Plaintiff incorporates the allegations of paragraphs | through 29 of this Complaint as if fully set
forth herein. Plaintiff created Dealing as an original expression of creative writings. The Poem
“Black Cat” is a part of Dealing (2018).

41. Plaintiff has the exclusive rights, pursuant to Section 106 of the Copyright Act, to make
derivative works, distribute and publicly perform her copyrighted Works. Defendants infringed
Plaintiffs exclusive rights under 17 U.S.C. §§ 106 and 602 by creating the song titled “Death by
a Thousand Cuts” containing original expressions derived from the poem “Black Cat” by
copying the unique way Plaintiff expressed elements to form protectable expressions.

The plaintiff used this text in “Black Cat”:
“A certain cat has wrinkles around her envious eyes/The sun is blinding and ailing to her
senescence/She tries to remain clandestine/But doesn’t realize her four-inch claws don’t
culminate in pain/The devious black cat can only leave tiny scratch marks on my back”.
The Defendant’s song, “Death by a Thousand Cuts” Aug 14, 2019) includes this verse:
“Cause I can’t pretend it’s okay when it’s not” and “Trying to find a part of me that you
didn’t touch”.
The Plaintiff’s poem describes being “cut” when in actuality, it’s not physical pain but rather
emotional pain that is conveyed in this unique expression. Furthermore, she tries to remain secret
as if the pain someone else is causing doesn’t hurt and that it won’t cause pain, even though it

does but she remains “clandestine” to avoid revealing it.

Prepared with the help of an attorney
Case 2:25-cv-14067-AMC Document 1 Entered on FLSD Docket 02/28/2025 Page 19 of 37

Count VII
COPYRIGHT INFRINGEMENT of “INGENUE” and “INNOCENCE LOST”
(17 U.S.C. § 106 and § 501)
By Plaintiff against Defendants

42. Plaintiff incorporates the allegations of paragraphs | through 29 of this Complaint as if fully set
forth herein. Plaintiff created Dealing as an original expression of creative writings. The Poem
“Ingenue”, is a part of Dealing (2018).

43. Plaintiff has the exclusive rights, pursuant to Section 106 of the Copyright Act, to make
derivative works, distribute and publicly perform her copyrighted Works. Defendants infringed
Plaintiff’s exclusive rights under 17 U.S.C. §§ 106 and 602 by creating the song titled “Robin”
containing original expressions derived from the poem “Jngenue ” by copying the unique way
Plaintiff expressed elements to form protectable expressions.

The Defendant’s song, “Robin”, is about a young girl filled with imagination and innocence
while an adult acknowledges the need to protect and guide her.
A verse in the Defendants’ song is:
“The time will arrive for the cruel and the mean. You'll learn to bounce back just like
your trampoline” and “You’re an animal, /you are bloodthirsty/Way to go, tiger”.
A verse in the Plaintiff’s poem, “Jnnocence Lost”, is
“T wonder what she thinks of the world, if she only knew, it would turn mean and cruel”.
In her poem, Ingenue, the Plaintiff wrote
“Just an ingenue, viewing the world as it is new/A girl once hungry, lost to starvation/of a

cub who grew into a lion”.

Prepared with the help of an attorney
Case 2:25-cv-14067-AMC Document1 Entered on FLSD Docket 02/28/2025 Page 20 of 37

Both poems, including the Defendants’ version, are about a child growing up in a world that
will eventually turn mean and cruel and so the child needs guidance and protection, but that one
day, she will turn into a lion and no longer need such care. Also, the Defendants’ song, “Nothing
New”, contains the verse, “everyone loves an ingenue” which is just another similarity amongst
the two compositions.

Count VII
COPYRIGHT INFRINGEMENT of “THE FIRE”
(17 U.S.C. § 106 and § 501)
By Plaintiff against Defendants
44, Plaintiff incorporates the allegations of paragraphs 1 through 29 of this Complaint as if fully set
forth herein. Plaintiff created Fallen as an original expression of creative writings. The Poem

“The Fire”, is a part of Fallen (2018).

4S. Plaintiff has the exclusive rights, pursuant to Section 106 of the Copyright Act, to make
derivative works, distribute and publicly perform her copyrighted Works. Defendants infringed
Plaintiff’s exclusive rights under 17 U.S.C. §§ 106 and 602 by creating the song “The Great
War’ containing original expressions derived from the poem “The Fire” by copying the unique
way Plaintiff expressed elements to form protectable expressions.
The Plaintiff’s poem, “The Fire” includes this verse:
“Anger fuels our Desire/I’m fighting fire with fire/...Pick your battles wisely, they say”.
The Defendant’s song, The Great War (Oct 21, 2022) includes this text:
“Diesel is Desire, you were playing with fire” and “Now I breathe fire each time we talk”.
The Plaintiff used a unique expression in writing fuel to ignite desire to fight each other in

which the Defendants used the same words to convey the same unique expression.

Prepared with the help of an attorney

Case 2:25-cv-14067-AMC Document1 Entered on FLSD Docket 02/28/2025 Page 21 of 37

Count IX
COPYRIGHT INFRINGEMENT of “BREAKING WAVES”
(17 U.S.C. § 106 and § 501)
By Plaintiff against Defendants

46. Plaintiff incorporates the allegations of paragraphs | through 29 of this Complaint as if fully set
forth herein. Plaintiff created Fallen as an original expression of creative writings. The Poem
“Breaking Waves” is a part of Fallen (2018).

A7. Plaintiff has the exclusive rights, pursuant to Section 106 of the Copyright Act, to make
derivative works, distribute and publicly perform her copyrighted Works. Defendants infringed
Plaintiff’s exclusive rights under 17 U.S.C. §§ 106 and 602 by creating the
video “Cardigan” containing original expressions derived from the poem “Breaking Waves” by
copying the unique way Plaintiff expressed elements to form protectable expressions.

The Plaintiff’s poem, “Breaking Waves” includes this verse:

“ realize I’m swimming in a fierce ocean, waves crashing over me/I dive into the high
tide/between the breaking waves/swimming until I reach the calm/The calm is my saving
grace”.

The Defendant’s video, Cardigan (July 24, 2020) depicts a person swimming in an ocean
looking for something to calm her. The expression is about being stranded in a vast ocean while
searching for something to calm (ease the tension) of being stranded all alone. The Plaintiff
wrote about being stranded in an ocean looking for something to calm her. While this doesn’t

include text, it’s the visual image that mimics exactly what the Plaintiff wrote about.

Prepared with the help of an attorney
Case 2:25-cv-14067-AMC Document1 Entered on FLSD Docket 02/28/2025 Page 22 of 37

48.

49,

Count X
COPYRIGHT INFRINGEMENT of “DEVIOUS MINDS” and “Noah”
(17 U.S.C. § 106 and § 501)
By Plaintiff against Defendants
Plaintiff incorporates the allegations of paragraphs 1 through 29 of this Complaint as if fully set
forth herein, Plaintiff created Dealing as an original expression of creative writings. The Poem
“Devious Minds” is a part of Dealing (2018).
Plaintiff has the exclusive rights, pursuant to Section 106 of the Copyright Act, to make
derivative works, distribute and publicly perform her copyrighted Works. Defendants infringed
Plaintiff's exclusive rights under 17 U.S.C. §§ 106 and 602 by creating the song “Clara Bow”,
“Down Bad” and “Guilty as Sin?” containing original expressions derived from the poem
“Devious Minds” by copying the unique way Plaintiff expressed elements to form protectable
expressions.
The Plaintiff’s poem, “Devious Minds” includes these verses:

“Tts easy to blame and find fault

Easy to accuse and abuse

I know it began before Annie Oakley

But when the papers got a hold of her name

It was a pernicious disease running through the tabloids

Oh, but Annie didn’t freeze

The next thing she did, she fought with pride

And the defamatory statements seemed to subside.”

Prepared with the help of an attorney

Case 2:25-cv-14067-AMC Document1 Entered on FLSD Docket 02/28/2025 Page 23 of 37

The Defendant’s song, “Clara Bow”, includes the lines:
“You look like Clara Bow in this light
All your life, did you know?
Youd be picked, like a rose
(Which sounds like Plaintiff’s poem, “Sky Tinted Water’,
With the lines “Don’t you know?...searching low and high...
Will you show me how to compliment the sky?”)
Defendant’s song continued...
“The crown is stained but you're the real queen
Flesh and blood amongst war machines”

The Defendants paraphrased what the Plaintiff wrote, which is a unique expression that
describes a person who is being worshipped yet they are being deceitful. Also, the Defendants’
song is about a known figure from the 18" century, and she is being written about in the tabloids.
The Plaintiff’s poem describes how Annie Oakley was painted in a negative light by the media.
The Defendant uses Clara Bow and how she’s portrayed negatively by those “in town”, yet she’s
“the real thing”. When you compare the poem and the song, they both sound alike.

In the previous complaint, the Defendants compare the poems to Elton John’s, “Candle in the
Wind” but this song is completely different and doesn’t use similar expressions. In “Sky Tinted
Water”, the Plaintiff is searching for love which the Defendants wrote in a similar way to

describe the same situation.

Prepared with the help of an attorney
Case 2:25-cv-14067-AMC Document1 Entered on FLSD Docket 02/28/2025 Page 24 of 37

The Plaintiff wrote a poem titled “Noah” in which a copyright registration was recently
obtained. However, the Plaintiff can show proof of when Noah was originally written as it was
turned into a song with the help of a contractor on Fiverr in May of 2023.

A verse in Plaintiff’s poem “Noah” is:

“Satan sends his Angels/Deception in Flesh and blood/Noah built a starship/to

escape the red flood”. Contrast this to “Flesh and blood amongst war machines”.
The Plaintiff describes those who pretend to be noble humans in flesh and blood fighting
a bloody battle (red flood).
A few lines from the Defendants’ song, “Down Bad”, include:

‘Down bad, waking up in blood”’

“Staring at the sky, come back and pick me up” while she is staring at a Starship.

The Defendant’s song “Clara Bow” (April 19, 2024) includes this verse:

“Flesh and blood amongst war machines/ You're the new god we're worshipping
/Promise to be ... dazzling”.

The Plaintiff’s poem, “Devious Minds”, is about Nellie Bly and how she worked, for a
Fortnight (ten days) in an insane asylum. This was added as Exhibit B to show more evidence
that the Defendants used the Plaintiff’s writings which included a poem about Nellie Bly for their
songwriting.

On yet another interesting note, the Defendants’ song “Guilty as Sin?” is very similar to this

poem as well.

Prepared with the help of an attorney

Case 2:25-cv-14067-AMC Document 1 Entered on FLSD Docket 02/28/2025 Page 25 of 37

The Defendant sings:
I'm seeing visions, am I bad? Or mad? Or wise? ...Only in my mind?...
How can I be guilty as sin?
The Plaintiff’s poem, “Devious Minds”, include the verse:
Who are the shifty and the crooked? When we look in the mirror
Do we see a reflection of our wrongdoing and transgressions? How are we
devious? When the world we live in is nothing other than a crime?
Are we going astray from the normal way?
Or is it just a figment of my imagination?
What is devious, if devious is the design?

The Plaintiff’s poem, “Devious Minds”, questions thoughts about the world and whether or
not she is devious as it could all just be a “figment of [her] imagination” because she isn’t sure
what reality is. The Defendant’s song. “Guilty as Sin?” questions whether she is guilty for
imagining things for she isn’t sure if she is really experiencing or imagining them. The Plaintiff
used an original expression to question her sense of guilt, just as the Defendants did.

A verse in the Defendants’ song, “Manuscript”, is “tears fell in synchronicity with the score"
which is strikingly similar to the expression originally written by the Plaintiff in her poem,
“Noah”, where she wrote "we need to come together like musical notes to poetry". Both use
"notes" in tandem with writing poetry/lyrics—poetry is a feeling of emotion. Poetry is the
pouring of emotions but at the same time, causes one to write or make music. Also, the Plaintiff
drew a sketch of musical notes next to a quill pen for the cover of her book, Songs of the

Unsung, indicating the process of writing simultaneously creates other art, such as music.

Prepared with the help of an attorney

Case 2:25-cv-14067-AMC Document1 Entered on FLSD Docket 02/28/2025 Page 26 of 37

This same sketch of a quill pen with notes was used by the Defendants to reference a historical
period in which the songs relate to.
Count XI
COPYRIGHT INFRINGEMENT of “STAGNATE”
(17 U.S.C. § 106 and § 501)
By Plaintiff against Defendants

50. Plaintiff incorporates the allegations of paragraphs 1 through 29 of this Complaint as if fully set
forth herein. Plaintiff created Fallen as an original expression of creative writings. The Poem
“Stagnate” is a part of Fallen (2018).

51. Plaintiff has the exclusive rights, pursuant to Section 106 of the Copyright Act, to make
derivative works, distribute and publicly perform her copyrighted Works. Defendants infringed
Plaintiff’s exclusive rights under 17 U.S.C. §§ 106 and 602 by creating the song “Right Where
you Left Me” and “It’s Time to Go” containing original expressions derived from the poem
“Stagnate” by copying the unique way Plaintiff expressed elements to form protectable
expressions.

The Plaintiff’s poem, “Stagnate” includes this verse:
“It’s time to go/When will you let me go?/ I continue to drive forward, but you wont let
me go...I remain stagnate in this light” and in the poem Scorpion, the Plaintiff wrote “I
waited at the bar/Didn’t know by then you were gone too far”.
The Defendant songs “It’s Time to Go and Right Where you Left Me” (both published in 2021)
include this text using the same exact words:

“It’s time to go” and in “I’m still at the restaurant, right where you left me”.

Prepared with the help of an attorney
Case 2:25-cv-14067-AMC Document1 Entered on FLSD Docket 02/28/2025 Page 27 of 37

52.

53.

The Plaintiff wrote about waiting at a bar realizing it was time for them to move on, yet the
person “at the bar” didn’t realize this. The Plaintiff’s original expression of being left waiting to
signify being stranded even though she not physically at a bar—this is just a form of expression
originally created by the Plaintiff in which the Defendants’ used for their song.
Count XII
COPYRIGHT INFRINGEMENT of “INVISIBLE MATTER” and “TIME”
(17 U.S.C. § 106 and § 501)
By Plaintiff against Defendants
Plaintiff incorporates the allegations of paragraphs | through 29 of this Complaint as if fully set
forth herein. Plaintiff created “Invisible Matter” and “Time” as an original expression of

creative writings. These poems are a part of Fallen (2018).

Plaintiff has the exclusive rights, pursuant to Section 106 of the Copyright Act, to make
derivative works, distribute and publicly perform her copyrighted Works. Defendants infringed
Plaintiff’s exclusive rights under 17 U.S.C. §§ 106 and 602 by writing “Invisible String” by
copying the unique way Plaintiff expressed elements to form protectable expressions.
The Defendant song, “Jnvisible String’, include these lyrics:
“Were there clues I didn’t see?/ All along there was some invisible string tying you to
me?/A string that pulled me out of all the wrong arms, right into that dive bar/All along
there was some invisible string tying you to me. Cold was the steel of my axe to
grind/For the boys who broke my heart”.
In the Plaintiff’s poem, “Invisible Matter”, some verses include,
“She is invisible, she hears the laughter and the cry, she sees the beauty and the pain, she

knows everything but reveals not a thing, sometimes she is warm but can turn cold in an

Prepared with the help of an attorney

Case 2:25-cv-14067-AMC Document1 Entered on FLSD Docket 02/28/2025 Page 28 of 37

instance, she can stir up a storm and become voracious/She’s always by my side
whispering in my ear and knowing my deepest thoughts/she travels far and reaches
high/She goes thru your soul and entwines your hair, she will always be there as we
grow/absorbing the rain and turning it into beautiful rainbows”.

The Defendants’ song discusses being led by an invisible power bringing both good and bad
things which resembles what the Plaintiff wrote.

The Plaintiff’s poem, “Time” (Dealing, 2018), includes this verse:

“Time, what is time? All I know, it’s never been kind”.
The Defendants’ song, “Jnvisible String” (July 2020), includes this verse
“Time, mystical time, cutting me open then healing me fine”.

The Defendants used the same words to convey the same meaning, questioning time (time is
mystical—mysterious) and that Time can hurt “never been kind” and “cutting me open”. The
Defendant rephrased the Plaintiff’s poem, using the same words but changing a few here and
there to express the same exact unique expression. Another interesting similarity is in the
Defendants’ verse: “Gold was the color of the leaves" and the Plaintiff’s poem, “/ngenue”, she

wrote "When leaves become Gold".

Prepared with the help of an attorney
Case 2:25-cv-14067-AMC Document1 Entered on FLSD Docket 02/28/2025 Page 29 of 37

Count XIII
COPYRIGHT INFRINGEMENT of the
introduction to the book, Fallen 2019
(17 U.S.C. § 106 and § 501)

By Plaintiff against Defendants

54, Plaintiff incorporates the allegations of paragraphs | through 29 of this Complaint as if fully
set forth herein. Plaintiff created Fallen as an original expression of creative writings. The
introduction to the book is a part of Fallen (2018).

55. Plaintiff has the exclusive rights, pursuant to Section 106 of the Copyright Act, to make
derivative works, distribute and publicly perform her copyrighted Works. Defendants
infringed Plaintiff’s exclusive rights under 17 U.S.C. §§ 106 and 602 by writing the
introduction to “The Tortured Poets Department” by copying the unique way Plaintiff
expressed elements to form protectable expressions used to compose her introduction.

The Plaintiff's book Fallen, 2019 includes a novel plus poems. The introduction, which can be

found in the book, includes this paragraph:
“This anthology combines Kimberly's poetry written throughout the years

reflecting the times and a previous published book titled, “Fallen from Grace”.

The writing was inspired by societal issues, personal challenges of anxiety and

fear to expressions of hope and dreams."

Prepared with the help of an attorney
Case 2:25-cv-14067-AMC Document1 Entered on FLSD Docket 02/28/2025 Page 30 of 37

The Defendants’ used the same words (albeit changing a few) for her introduction for The

Tortured Poets Department (April 2024) with this paragraph:

“An anthology of new works that reflect events, opinions and sentiments from a
fleeting and fatalistic moment in time — one that was both sensational and

sorrowful in equal measure.”

The Defendants simply paraphrased the introduction written by the Plaintiff.

56.

57.

58.

The copyright registrations for “The Works”: can be found in Exhibit A. Pictures of the
pages with poems and other images are included in Exhibit B. Also, a chart with page
numbers corresponding to the poems and text is presented in Exhibit C.

A “substantial similarity” exists where the accused work is so similar to the Plaintiff's work
that an ordinary reasonable person would conclude that the Defendant unlawfully
appropriated the Plaintiffs protectable expression by taking material of substance and
value.” Stromback, 384 F.3d at 297 (internal quotation marks omitted). In a case such as this,
it is appropriate to examine the theme, characters, plot, sequence, pace, and setting for
similarities, Williams v. Crichton, 84 F.3d 581, 588 (2d Cir. 1996). In the end, the question is
whether, based upon his “net impression” of the works’ expressive elements, the ordinary lay
observer would find them substantially similar to one another.

The Plaintiff wrote many original and unique expressions that are subject to copyright
protection. Kearns v. Ford Motor Co., 726 F. Supp. 159 (E.D. Mich. 1989): Robert Kearns,
the inventor of the intermittent windshield wiper, sued Ford and Chrysler for copying his

invention. On cross-examination, Kearns (litigated pro se), had Ford’s expert read the

Prepared with the help of an attorney
Case 2:25-cv-14067-AMC Document1 Entered on FLSD Docket 02/28/2025 Page 31 of 37

opening paragraph of Charles Dickens’ “A Tale of Two Cities,” after which he had to admit
that Dickens had not created any of the words he used in that famous paragraph, but
that the artistry came in how those words were put together.

59. Access can be proven by showing that the Plaintiff’s work was widely disseminated or that
the defendant encountered it through a chain of events, such as working in the same industry.
It is important to note that in the digital age, access is often assumed. Actual viewing of the
protected material is not required to establish access; access means merely a reasonable
opportunity to view the material. See Grubb v. KMS Patriots, L.P., 88 F.3d 1, 3 (Ist Cir.
1996). Plaintiff has shown sufficient uncontested material facts to establish probative
similarity. Coquico, 562 F.3d at 67 (“What we have called “probative similarity” can, when
accompanied by proof of access, serve as harbinger of actual copying.”).

60. In the previous complaint, the Defendants mentioned that the text contains metaphors that
aren’t copyrightable. However, the Plaintiff did not use metaphors or common phrases.
Metaphors compare two things that can be real by themselves. For example, the phrase “she
sings like a lark” is a metaphor as it compares a female to that of a songbird. Short phrases
include names, titles, and slogans and are not full sentences. The Plaintiff’s writing includes
complete sentences which contain a subject and a predicate, conveying a complete thought
using original expressions.

61. According to The Copyright Society (Copyrightsociety.org): The words you use to tell a
story, the picture that you paint, and the lyrics to a song [or poem] you wrote are all types of
“expression.” Until you set these things down on paper or in a Recording, they are nothing

more than ideas.

Prepared with the help of an attorney
Case 2:25-cv-14067-AMC Document 1 Entered on FLSD Docket 02/28/2025 Page 32 of 37

62.

63.

64.

65.

66.

67.

68.

69.

The Plaintiff provided a picture of a part of a dance that was not included in the Counts

section because Originall is not a professional dancer and only added it to reveal more

evidence of copying. Original! does not claim infringement with her written poetry about

Nellie Bly. The passages and images of Nellie Bly were also included in the Exhibits section

to reveal more evidence of copying.

Refer to Exhibit C for a side-by-side comparison between the Plaintiff’s work and that of the

Defendants with specific page numbers, paragraph numbers, verse numbers, images and text.
FACTS

Plaintiff is the Owner of a valid copyright registration in the Works.

Defendants had access to the Works. The Work was publicly available for sale online.
Defendants have never been licensed or given permission to use the Works, at issue in this
action, for any purpose.

Defendants’ infringing acts include, but are not limited to, unlawfully creating, recording,
manufacturing, producing, selling, licensing marketing and/or distributing the musical
compositions and sound recordings for the songs listed in the Counts section in this
complaint.

The Defendants infringed Plaintiff’s exclusive rights under 17 U.S.C. §§ 106 and 602 by
using the infringing derivative songs, distributing copies of the works, and publicly
performing the infringing derivative songs online and in concerts without Plaintiff's
authorization in violation of 17 U.S.C. § 501.

The Plaintiff found Defendants took from Plaintiff's Work unique and creatively written
expressions that appeal to readers for whom the Work is composed, that Defendants

wrongfully copied protectable elements which belong to the Plaintiff without permission.

Prepared with the help of an attorney
Case 2:25-cv-14067-AMC Document 1 Entered on FLSD Docket 02/28/2025 Page 33 of 37

70. The Defendants have infringed Plaintiff’s rights by creating and performing derivative works
of such a large quantity of Plaintiff’s poems that the possibility of independent creation,
coincidence or use of a prior common source are precluded. The portions of the Work copied
comprise protected original expression and are of such importance to the copied work that
the appropriation is actionable.

71. The Defendants acted with reckless disregard of the possibility that their conduct represented
infringement so as to make the infringing conduct willful by making derivative works from
the Work that was publicly sold as a copyrighted book.

72. The Plaintiff never gave Defendants permission or authority to copy or prepare derivative
works of the ‘Works’ at issue in this case. Defendants profited by distributing and performing
the derivative works in the District. Defendants' acts of infringement are willful, intentional
and purposeful, in disregard of and with indifference to Plaintiff’s rights.

73. Defendants have exploited and continue to exploit the Plaintiffs Works in this District, the
State of Florida, and throughout the United States and the World by reproducing, preparing
derivative works, distributing, licensing, and publicly performing the Works.

74. Defendants have profited substantially from their infringing activities, have collected, and
continue to collect, fees and royalties from the sale of the infringing work or any derivatives
thereof, and have retained a portion of those fees and royalties without submitting any
amount to Plaintiff. Defendants should be held jointly and severally liable for all profits
derived as a result of their infringing activities, whether or not collected and retained by
them, as practical partners.

75. As a result of Defendants’ willful infringement of Plaintiffs’ copyrights and exclusive rights

under copyright, Plaintiffs are entitled to maximum statutory damages pursuant to 17 U.S.C.

Prepared with the help of an attorney
Case 2:25-cv-14067-AMC Document1 Entered on FLSD Docket 02/28/2025 Page 34 of 37

§ 504(c), or to recover their actual damages and profits attributable to the infringement
pursuant to 17 U.S.C. § 504(b), at Plaintiffs’ election, and such other relief as is provided by
law. Plaintiffs are further entitled to their attorney’s fees and full costs pursuant to 17 U.S.C.
§ 505.

76. The conduct by Defendants is causing and, unless enjoined and restrained by this Court, will
continue to cause Plaintiffs great and irreparable injury that cannot fully be compensated or
measured in money. Pursuant to 17 U.S.C. §§ 502 and 503, Plaintiffs are entitled to
injunctive relief prohibiting Defendants from further infringing Plaintiffs’ copyrights.

77. The Plaintiff found that the Defendants’ infringement occurred in approximately the same
timeframe (whereas Plaintiff’s works were published prior to the Defendants’), and the
infringement was on the same topics using many of the same unique, never written before,
creative expressions that made the Plaintiff’s Works valuable and appealing to other
publishers and literary magazines, including poetry contests and other creative writing
pursuits. Thomas Jefferson used the phrase “the pursuit of happiness” in The Declaration of
Independence which is essential to preserving liberty so long as one does not trample on the
rights of others to pursue their happiness. All people are born with the right to a life of
meaning and purpose and can contribute to society in positive ways. The Plaintiff's rights
were violated, and the Defendants continue to do so without regard to the copyright
registrations the Plaintiff obtained to secure her Works. The Defendants’ infringement

amounts to the unlawful appropriation of Plaintiff’s copyrighted material.

Prepared with the help of an attorney
Case 2:25-cv-14067-AMC Document1 Entered on FLSD Docket 02/28/2025 Page 35 of 37

78.

79.

80.

CAUSE OF ACTION

(Copyright Infringement - 17 U.S.C. § 101, et seq.)
Plaintiff repeats and realleges each of the foregoing Paragraphs 1—79 as though fully set
forth herein. The Defendants’ reproduction, distribution, and sales of the infringing work,
including the Lover book, Folklore, Midnights, and The Tortured Poets Department in the
United States and internationally, continue to this day, and Defendants have not deigned to
compensate the copyright owner for the use of the copyrighted work. The Defendants’
reproduction, distribution, licensing, merchandizing, and economic exploitation of the
albums, including the work being used in the “Eras Tour”, and authorizing others to do the
same, infringes Plaintiff’s exclusive rights under the Copyright Act.
As a direct and/or proximate result of the Defendants’ wrongful conduct, the Plaintiff has
been irreparably harmed. Said injuries are continuing and will not abate in the future. Such
reproduction and release were wholly unauthorized as it was without any license or consent
of authority from the Plaintiff. By virtue of this unauthorized commercial exploitation, the
Defendants have realized illegal revenues.
Pursuant to 17 U.S.C. § 504(c), the Plaintiff is entitled to statutory damages since the

infringement occurred after the copyright was registered.

Prepared with the help of an attorney
Case 2:25-cv-14067-AMC Document1 Entered on FLSD Docket 02/28/2025 Page 36 of 37

81. WHEREFORE, the Plaintiff prays for relief and respectfully requests that judgment be
entered against the enumerated Defendants, as follows:
A. For judgment that all the Defendants, by virtue of their involvement with the creation,
publication, reproduction, public dissemination, and distribution of the albums: Lover,
Folklore, Midnights and The Tortured Poet's Department, as well as material used in the
“Eras Tour”, have violated the Copyright Act;
B. For judgment assessing Defendants for the damages in excess of twenty-five million
dollars suffered by Plaintiff, including an award of actual damages and Defendants’ profits
attributable to the infringement, or statutory damages (at Plaintiff’s election), under the
Copyright Act, as well as costs and attorney’s fees to the full extent provided for by Sections
501, 504 and 505 of the Copyright Act, 17 U.S.C. §§ 501, 504 and 505; damages and profits
shall include all profits and damages resulting from exploitation of the work domestically

and internationally.

Prepared with the help of an attorney

Case 2:25-cv-14067-AMC Document1 Entered on FLSD Docket 02/28/2025 Page 37 of 37

DEMAND FOR TRIAL BY JURY
82. Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff respectfully

demands a trial by jury

th
ecko
Dated: h =, 2025

Kimberly Marasco, Plaintiff

Prepared with the help of an attorney

